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From: Bella Murphy <bjackix@gmail.com>
Date: Fri, Jun 4, 2021 at 4:27 PM
Subject: Letter for Ricci Wynne
To: Bella Murphy <Bjackix@gmail.com>


Isabella Murphy
175 Holmes Ave.
San Rafael, CA
94903

Honorable Judge Breyer,
I am writing to vouch for the character of my husband Ricci Lee Wynne, who is facing criminal
sentencing before your court.

My husband has indeed strayed off the path that I have always wanted for him, but I remain convinced
that he possesses the desire and determination to learn from this experience and move in a positive
direction with his life.He has a large and committed support system in me, my family and his family. If he
is incarcerated we will be there for him when he is released. If you see fit to release him to New Bridge
Program we will do everything in our power to help Ricci in his heartfelt desire to return to a positive
and drug free lifestyle where he can begin to recover from the malicious disease of addiction.

In the 5 years I have been in a relationship with Ricci I have experienced someone who can
persevere and is quite possibly the most capable person I know when his head is in the right place. He
has always carried himself in a polite and respectful manner to me, my family and friends, the same as
he does a stranger on the street. When I was deep in my addiction he helped find a treatment program
that I went to, he drove me there took care of my dogs and visited me every weekend, even though he
was in his addiction he never left me without support and he made his best effort to stay away from
drugs and that lifestyle following my discharge date. This is just one example of his empathy and
determination to being clean and sober in our life, but more importantly his life.

I consider myself to be a good judge of character, I have been sober for 1 year now. I can tell when
someone has an honest and sincere desire to change and account for their wrongdoing. I am certain this
is the case with my husband.


Thank you for your consideration,
Isabella Murphy
